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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

                                             §
 BROWSERKEY, LLC,                            §
                                             §   Case No. 2:24-cv-00800-JRG-RSP
 v.                                          §            (Lead Case)
                                             §
 WELLS FARGO & CO.                           §
                                             §

 BANK OF AMERICA CORPORATION, §                  Case No. 2:24-cv-00798-JRG-RSP
                              §                           (Member Case)



                         NOTICE OF ATTORNEY APPEARANCE

       Notice is hereby given that the undersigned attorney, Christopher T. Gresalfi, enters his

appearance in this matter for Defendant Bank of America Corporation for purposes of receiving

notices and orders from the Court.

Dated: December 6, 2024.                     Respectfully submitted,

                                             /s/ Christopher T. Gresalfi
                                             Christopher T. Gresalfi
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                                             Attorney for Defendant
                                              Bank of America Corporation
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                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on December 6, 2024, all counsel of record who are

deemed to have consented to electronic service are being served with a copy of this document via

the Court’s CM/ECF system per Local Rule CV-5(a)(3).

                                                   /s/ Christopher T. Gresalfi
                                                      Christoopher T. Gresalfi
